                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



   UNITED STATES OF AMERICA, ET AL.,

                        Plaintiffs,

                       v.                                   Civil Action No. 1:21-cv-11558-LTS

   AMERICAN AIRLINES GROUP INC. and
   JETBLUE AIRWAYS CORPORATION,

                        Defendants.



  AMERICAN AIRLINES GROUP INC. AND JETBLUE AIRWAYS CORPORATION’S
       MOTION FOR AN ORDER OF IMPOUNDMENT OF CONFIDENTIAL
   INFORMATION RELATING TO DAUBERT MOTION AND MOTION IN LIMINE
     CONCERNING PLAINTIFFS’ EXPERT’S MERGER SIMULATION MODEL

       Pursuant to Local Rule 7.2 and the Court’s Standing Order Re Default Protective Order in

Complex Cases (“Standing Protective Order”), Defendants American Airlines Group Inc. and JetBlue

Airways Corporation (collectively “Defendants”) respectfully move the Court to enter an order of

impoundment for the following documents, which will be submitted to the Court with the

Defendants’ Daubert Motion and Motion in Limine:

            1. Exhibit A, a copy of excerpts from the Expert Report of Nathan H. Miller, Ph.D.,

                dated June 9, 2022 (“Miller Report”), and

            2. Exhibit M, a copy of excerpts from the Expert Reply Report of Nathan H. Miller,

                PhD., dated August 8, 2022 (“Miller Reply Report”).

       The Defendants move to preclude Plaintiffs’ expert Dr. Nathan H. Miller from offering

opinions or testimony that rely on the results of his “merger simulation” model because there is too

great an analytical gap between Dr. Miller’s merger simulation model and the issues raised by the

NEA at issue in this case, and because the model is not reliable.
                                                  1
       These documents, attached as Exs. A and M, contain information Defendants or third parties

have designated as Confidential or Highly Confidential under the terms of the Stipulated Protected

Order entered in this case. ECF No. 99. Defendants respectfully request permission to file these two

exhibits under seal. Pursuant to Local Rule 7.1, Defendants have met and conferred with Plaintiffs,

and Plaintiffs represented that they cannot determine whether to oppose this motion until they see

the portions of the Miller Report and Miller Reply Report that Defendants seek to seal. Plaintiffs

also stated that they reserve all rights to object if Defendants seek to seal references to the terms of

the MGIA and NEA agreements, or any portion of the agreements themselves, at trial.

                                            ARGUMENT

       Courts recognize that “the right to inspect and copy judicial records is not absolute,” and non-

public, commercially sensitive documents may be protected from public disclosure. Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 598 (1978) (“Every court has supervisory power over its own records

and files[.]”). Pursuant to Federal Rule of Civil Procedure 26(c), a party may file a document under

seal when “good cause” exists to keep the information confidential.      Good cause exists where the

moving party demonstrates “the harm that would be sustained if the court did not allow the filing

under seal.” Dunkin Donuts Franchised Rests., LLC v. Agawam Donuts, Inc., 2008 WL 427290 at

*1 (D. Mass. Feb. 13, 2008) (internal quotations omitted).

       It is well-settled that documents revealing “business information that might harm a litigant’s

competitive standing” are the type of materials that courts protect because their disclosure can result

in injury. Nixon, 435 U.S. at 598. Negotiated contract terms constitute paradigmatic trade secrets

that, if disclosed, would harm a company’s competitive standing in the market. See, e.g., In re Elec.

Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (holding that contract terms contained in licensing

agreement are “the precise sort of information . . . that plainly falls within the definition of ‘trade

secrets’”). The NEA Agreements and the MGIA Agreements are highly confidential agreements

                                                   2
containing competitively sensitive terms and conditions that, if made public, would significantly

harm the competitive standing of American and JetBlue.             Courts routinely seal this type of

competitively sensitive information. See, e.g., In re Bank of Am. Home Affordable Modification

Program (HAMP) Contract Litig., 2012 WL 5239726, at *1 (D. Mass. Oct. 24, 2012) (granting

motion for protective order to protect “confidential commercial information about [a bank’s] internal

policies and procedures, as well as the internal policies and procedures of its third-party vendor”

because material at issue “could unfairly disadvantage [the bank and its vendor] vis-à-vis their

economic competitors”).1

       The Miller Report and Miller Reply Report contain sensitive information regarding the MGIA

Agreements of Defendants and, in particular, detailed proprietary and competitively sensitive

information about the financial terms of the Northeast Alliance, as well as documents containing

business strategy produced by the Defendants. The Miller Report and Miller Reply Report also

contain third-party information that has been designated the respective third party as Confidential or

Highly Confidential. Disclosing this information to the public, including to Defendants’ and the third

parties’ competitors, would result in serious harm to American, JetBlue, and relevant third parties.

       Finally, Defendants’ request for sealing is narrowly tailored. Defendants seek only to seal

the excerpts from the Miller Report and Miller Reply Report, and not general references to or

discussion of the report within the Daubert Motion and Motion in Limine itself. This ensures that



 1
   See also, e.g., Goldenberg v. Indel, Inc., 2012 WL 15909, at *3 (D.N.J. Jan. 3, 2012) (granting
 sealing of “confidential business agreements” that included “sensitive financial information”);
 Mars, Inc. v. JCM Am. Corp., 2007 WL 496816, at *2–3 (D.N.J. Feb. 13, 2007) (finding a
 legitimate privacy interest in maintaining the confidentiality of terms to a business agreement that
 are not available to the public because otherwise the parties to the agreement could lose their future
 competitive negotiating positions and strategies, causing them to suffer serious injury); Sprinturf,
 Inc. v. Sw. Recreational Indus., Inc., 216 F.R.D. 320, 324 (E.D. Pa. 2003) (protecting documents
 containing proprietary information because defendants’ “competitors would be able to exploit this
 information during negotiations with [their] customers”).

                                                   3
detailed confidential information about the financial terms of the Northeast Alliance and confidential

third-party information remain confidential and protects Defendants’ and third parties’ commercial

interests while permitting the public to have the fullest possible access to Defendants’ arguments in

support of their Daubert Motion and Motion in Limine.

                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court issue an order

granting their motion for an order of impoundment of confidential information.

       Defendants request that the sealed documents remain impounded under further order of the

Court, and at the conclusion of the litigation, after any appeals have been exhausted, that any

documents filed under seal be returned to Defendants’ counsel of record.



Dated: September 2, 2022                              Respectfully submitted,

                                                       /s/ Daniel M. Wall
                                                      Daniel M. Wall (pro hac vice)
                                                      Elizabeth C. Gettinger (pro hac vice)
                                                      Elise M. Nelson (pro hac vice)
                                                      Nitesh Daryanani (pro hac vice)
                                                      LATHAM & WATKINS LLP
                                                      505 Montgomery Street, Suite 2000
                                                      San Francisco, CA 94111-6538
                                                      Telephone: (415) 391-0600
                                                      Facsimile: (415) 395-8095
                                                      dan.wall@lw.com
                                                      elizabeth.gettinger@lw.com
                                                      elise.nelson@lw.com
                                                      nitesh.daryanani@lw.com




                                                  4
    Ian R. Conner (pro hac vice)
    Michael G. Egge (pro hac vice)
    Farrell J. Malone (pro hac vice)
    Allyson M. Maltas (pro hac vice)
    Marguerite M. Sullivan (pro hac vice)
    Tara L. Tavernia (pro hac vice)
    Seung Wan Paik (pro hac vice)
    Jesse A. Vella (pro hac vice)
    LATHAM & WATKINS LLP
    555 Eleventh Street, NW, Suite 1000
    Washington, DC 20004-1304
    Telephone: (202) 637-2200
    Facsimile: (202) 637-2201
    allyson.maltas@lw.com
    ian.conner@lw.com
    michael.egge@lw.com
    farrell.malone@lw.com
    marguerite.sullivan@lw.com
    andrew.paik@lw.com
    tara.tavernia@lw.com
    jesse.vella@lw.com

    David C. Tolley (BBO #676222)
    LATHAM & WATKINS LLP
    200 Clarendon Street
    Boston, MA 02116
    Telephone: (617) 948-6000
    Facsimile: (617) 948-6001
    david.tolley@lw.com

    Attorneys for Defendant
    American Airlines Group Inc.




5
    /s/ Richard Schwed
    Richard Schwed (pro hac vice)
    Matthew L. Craner (pro hac vice)
    Jessica K. Delbaum (pro hac vice)
    Leila Siddiky (pro hac vice)
    Shearman & Sterling LLP
    599 Lexington Avenue
    New York, NY 10022
    Telephone: (212) 848-5445
    rschwed@shearman.com
    matthew.craner@shearman.com
    jessica.delbaum@shearman.com
    leila.siddiky@shearman.com

    Brian Hauser (pro hac vice)
    Ryan Leske (pro hac vice)
    Shearman & Sterling LLP
    401 9th Street, NW
    Washington, DC 20004
    Telephone: (202) 508-8005
    brian.hauser@shearman.com
    ryan.leske@shearman.com

    Glenn A. MacKinlay, BBO #561708
    McCarter & English, LLP
    265 Franklin Street
    Boston, MA 02110
    Telephone: (617) 449-6548
    gmackinlay@mccarter.com

    Attorneys for Defendant
    JetBlue Airways Corporation




6
                             LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1, Defendants have met and conferred with Plaintiffs, and Plaintiffs
represented that they cannot determine whether to oppose this motion until they see the portions of
the Miller Report and Miller Reply Report that Defendants seek to seal. Plaintiffs also stated that
they reserve all rights to object if Defendants seek to seal references to the terms of the MGIA and
NEA agreements, or any portion of the agreements themselves, at trial.

                                                      /s/ Daniel M. Wall
                                                      Daniel M. Wall




                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing.

                                                      /s/ Daniel M. Wall
                                                      Daniel M. Wall




                                                 7
